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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT

  RODNEY PRICE,                                 )
                                                )
         Plaintiff,                             )        Civ. No.: 3:16-cv-00030-GFVT
                                                )
  v.                                            )
                                                )
  PORTFOLIO RECOVERY ASSOCIATES,                )                    ORDER
  LLC,                                          )
                                                )
         Defendant.                             )
                                                )


                                      *** *** *** ***

        The Plaintiff and Defendant have filed an Agreed Order of Dismissal with the Court

 following their successful settlement negotiation. [R. 18.] Accordingly, it is hereby ORDERED

 as follows:

        1. The complaint against Portfolio Recovery Associates, LLC, is DISMISSED WITH

 PREJUDICE as settled, with parties to pay their own costs.

        This 28th day of December, 2016.




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